                                                                                      Case 2:20-cv-01081-KJD-VCF Document 18 Filed 09/25/20 Page 1 of 2



                                                                                  1   MAXIMILIEN D. FETAZ, ESQ., Nevada Bar No. 12737
                                                                                      mfetaz@bhfs.com
                                                                                  2   BROWNSTEIN HYATT FARBER SCHRECK, LLP
                                                                                      100 North City Parkway, Suite 1600
                                                                                  3   Las Vegas, NV 89106-4614
                                                                                      Telephone: (702) 382-2101
                                                                                  4   Facsimile: (702) 382-8135
                                                                                  5   MATTHEW D. MURPHEY, ESQ. (pro hac vice)
                                                                                      matt@themurpheylawyers.com
                                                                                  6   MURPHEY & MURPHEY
                                                                                      A PROFESSIONAL CORPORATION
                                                                                  7   120 Vantis Drive, Suite 300
                                                                                      Aliso Viejo, CA 92656
                                                                                  8   Telephone: (949) 464-4540
                                                                                      Facsimile: (562) 375-6674
                                                                                  9
                                                                                      Attorneys for Plaintiff Cenegenics, LLC
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                                 10
                                                                                                                         UNITED STATES DISTRICT COURT
                                                                                 11
                                            100 North City Parkway, Suite 1600




                                                                                                                             DISTRICT OF NEVADA
                                                Las Vegas, NV 89106-4614




                                                                                 12
                                                                                      CENEGENICS, LLC,                                       CASE NO.: 2:20-cv-01081-KJD-VCF
                                                      702.382.2101




                                                                                 13
                                                                                                            Plaintiff,
                                                                                 14                                                          STIPULATION AND ORDER TO
                                                                                      v.                                                     EXTEND TIME FOR DEFENDANTS
                                                                                 15                                                          ALUVALIFE, LLC AND JAMES D.
                                                                                      ANTI-AGING AND WELLNESS CLINIC,                        RICHIE TO RESPOND TO
                                                                                 16   aka ANTI-AGING AND WELLNESS,                           COMPLAINT
                                                                                      aka ANTI AGING & WELLNESS CLINIC,
                                                                                 17   aka ANTIAGE AND WELLNESS CLINIC;                       (First Request)
                                                                                      ALUVALIFE, LLC, aka ANTI-AGING
                                                                                 18   AND WELLNESS,aka ANTI-AGING AND
                                                                                      WELLNESS CLINIC, dba ANTI-AGING
                                                                                 19   AND WELLNESS MEDICAL; ANTI
                                                                                      AGING COSTA RICA aka ANTI-AGING
                                                                                 20   COSTA RICA; JAMES D. RICHIE; and
                                                                                      JOHN DOES 1-10, unidentified individuals
                                                                                 21   and/or entities,

                                                                                 22                         Defendants.

                                                                                 23

                                                                                 24              Plaintiff Cenegenics, LLC (“Plaintiff”), by and through their counsel Maximilien D. Fetaz

                                                                                 25   with Brownstein Hyatt Farber Schreck, LLP and Matthew Murphey with Murphey & Murphey,

                                                                                 26   and Defendants Aluvalife, LLC aka Anti-Aging and Wellness, aka Anti-Aging and Wellness

                                                                                 27   Clinic, dba Anti-Aging and Wellness Medical (collectively, “Aluvalife”) and James D. Richie, by

                                                                                 28   and through their counsel Melanie Hill with Melanie Hill Law PLLC, hereby stipulate and agree

                                                                                      21632649
                                                                                                                                         1
                                                                                      Case 2:20-cv-01081-KJD-VCF Document 18 Filed 09/25/20 Page 2 of 2



                                                                                  1   to extend Defendant Aluvalife’s deadline to respond to Plaintiff’s Complaint for thirty (30) days
                                                                                  2   from September 25, 2020 to October 26, 2020 and further stipulate to extend Defendant James D.
                                                                                  3   Richie’s deadline to respond to Plaintiff’s Complaint for thirty (30) days from October 5, 2020 to
                                                                                  4   November 4, 2020.
                                                                                  5              The basis for these extensions is to provide the parties with time to continue discussions
                                                                                  6   toward potential resolution of Plaintiff’s claims and partial dismissal of this lawsuit against
                                                                                  7   Aluvalife and James D. Richie. This is the first stipulation for extension of time for Defendants
                                                                                  8   Aluvalife, LLC and James D. Richie to respond to the Complaint.
                                                                                  9              IT IS SO STIPULATED.
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                                 10   DATED: September 24, 2020                              DATED: September 24, 2020
                                                                                 11   BROWNSTEIN HYATT FARBER                                MELANIE HILL LAW PLLC
                                            100 North City Parkway, Suite 1600




                                                                                      SCHRECK, LLP
                                                Las Vegas, NV 89106-4614




                                                                                 12
                                                      702.382.2101




                                                                                 13    /s/ Maximilien D. Fetaz                                /s/ Melanie A. Hill
                                                                                      MAXIMILIEN D. FETAZ, ESQ.                              MELANIE A. HILL, ESQ.
                                                                                 14   Nevada Bar No. 12737                                   Nevada Bar No. 8796
                                                                                      mfetaz@bhfs.com                                        Melanie@MelanieHillLaw.com
                                                                                 15   100 North City Parkway, Suite 1600                     520 S. 7th Street, Suite A
                                                                                      Las Vegas, NV 89106-4614                               Las Vegas, NV 89101
                                                                                 16                                                          Telephone: (702) 362-8500
                                                                                      MATTHEW D. MURPHEY, ESQ.                               Facsimile: (702) 362-8505
                                                                                 17   (pro hac vice)
                                                                                      matt@themurpheylawyers.com                             Attorney for Defendants James D. Richie and
                                                                                 18   MURPHEY & MURPHEY                                      Aluvalife, LLC, aka Anti-Aging and Wellness,
                                                                                      A PROFESSIONAL CORPORATION                             aka Anti-Aging and Wellness Clinic, dba Anti-
                                                                                 19   120 Vantis Drive, Suite 300                            Aging and Wellness Medical
                                                                                      Aliso Viejo, CA 92656
                                                                                 20
                                                                                      Attorneys for Plaintiff Cenegenics, LLC
                                                                                 21

                                                                                 22                                                            IT IS SO ORDERED:
                                                                                 23

                                                                                 24                                                            ____________________________________
                                                                                                                                               UNITED STATES MAGISTRATE JUDGE
                                                                                 25
                                                                                                                                                           9-25-2020
                                                                                 26                                                            DATED:

                                                                                 27
                                                                                 28
                                                                                      21632649
                                                                                                                                         2
